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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

ANTHONY G. DUVALL,

      Plaintiff,

v.                                                   Case No. 6:16-cv-2150-Orl-37DCI

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

      Defendant.
_____________________________________

                               ORDER OF DISMISSAL

      This cause is before the Court upon the Notice of Settlement filed December 21,

2017 (Doc. 43) indicating that this case has settled. Accordingly, it is ORDERED AND

ADJUDGED:

      1.      That the above-styled cause is hereby DISMISSED WITH PREJUDICE,

             subject to the right of any party to move the Court within sixty (60) days

             thereafter for the purpose of entering a stipulated form of final order or

             judgment; or, on good cause shown, to reopen the case for further

             proceedings.

      2.     All pending motions are denied as moot and all deadlines and hearings are

             terminated.

      3.     The Clerk is DIRECTED to close this file.

      DONE AND ORDERED in Chambers in Orlando, Florida, on January 3, 2018.



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Copies to:
Counsel of Record




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